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UNITED sTATES DISTRICT COURT
FoR THE
wEsTERN DISTRICT oF TENNESSEE

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* V“;H§LT`N
UNITED sTATEs oF AMERICA, *
*
vs. * Criminal No.: 02-20480 MI
*
ADAM HoGELAND, *
*

APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUDUM
Thomas A. Co]thurst applies to the Court for a Writ' to have ADAM HODGELAND, DOB
08/27/1984, Booking # 50098 now being detained in the Lauderdale County Justice Center, appear before
the Honorable Tu M. Pham, on Friday, April 22, 2005 at 2:00 p.m., FOR an INITIAL APPEARANCE,
and for such other appearances as this Court ay direot.
Respectfully submitted this / diary of April, 2005.
Respectfully submitted,

TERRELL L. HARRIS

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%/

THOMAS A.'COLTHURST
Assistant United States Attorney
167 N. Main, Room 800
Memphis, TN 3 8103

(#018324 Tennessee)

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Upon consideration of the foregoing Application,

DAVLD G. JOLLY, U.S. MARSHAL, WESTERN DISTRlCT OF TENNESSEE, MBMPHIS, TN
LOUIS CRAIG ,SHERIFF/WARDEN, LAUDERDALE COUNTY JUSTICE CENTER

YOU ARE HEREBY COMMANDED to have ADAM HOGELAND, DOB: 08/27/1984, Booking
# 50098 appear before the Honorable Tu M. Pham at the date and time aforementioned

ENTERED this l Y day oprriI, 2005.

 

 

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his documententerec| on the docket sheet in compi:a\ rea United States Magistrate Judge

mh Hute 55 and/or 32(b) FRCrP on 4 `02/’0
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Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
case 2:02-CR-20480 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

